                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


IN RE: Kenneth Patrick Ray aka Kenneth P Ray
                            Debtor(s)                                              CHAPTER 7

M&T BANK
                                Movant
               vs.
                                                                               NO. 22-00036 HWV
Kenneth Patrick Ray aka Kenneth P Ray
                           Debtor(s)

Kara Katherine Gendron
                                Trustee                                       11 U.S.C. Sections 362

                                                  ORDER

            Upon consideration of Movant’s Motion for Relief from the Automatic Stay, it is:

            ORDERED THAT: The Motion for Relief from the Automatic Stay of all proceedings is

    granted and the Automatic Stay of all proceeding, as provided under Section 362 of the Bankruptcy

    Abuse and Consumer Protection Act of 2005 (The Code), 11 U.S.C. Section 362, is modified with

    respect to the subject premises located at 11734 Ridge Road, Greencastle, PA 17225 (“Property), so

    as to allow Movant, its successors or assignees, to proceed with its rights and remedies under the

    terms of the subject Mortgage and pursue its in rem State Court remedies including, but not limited

    to, taking the Property to Sheriff’s Sale, in addition to potentially pursuing other loss mitigation

    alternatives including, but not limited to, a loan modification, short sale or deed-in-lieu of

    foreclosure. Additionally, any purchaser of the Property at Sheriff's Sale (or purchaser's assignee)

    may take any legal action for enforcement of its right to possession of the Property.




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